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                  IN THE UNITED STATES DISTRICT COURT
              FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                              AT BLUEFIELD



UNITED STATES OF AMERICA



v.                                       CRIMINAL NO. 1:14-00175-03

JOANNA PADGETT


                      MEMORANDUM OPINION AND ORDER


        In Bluefield, on November 6, 2014, came the defendant Joanna

Padgett, in person and by counsel, Rachel E. Zimarowski, Assistant

Federal Public Defender, and came the United States by John J. Frail,

Assistant United States Attorney, for the purpose of considering the

defendant=s plea of guilty to Count Ten of the Indictment charging

her with distribution of a quantity of a quantity of cocaine base,

in violation of Title 21, United States Code, Section 841(a)(1).

Teresa King appeared on behalf of the United States Probation

Department.

        The court inquired of the defendant, addressing her

personally and by counsel, to determine the competency of the

defendant to proceed.     The court found the defendant competent.

        The court informed the defendant of the maximum penalties

to which she will be exposed by virtue of her plea of guilty and

defendant acknowledged her understanding of the same.
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         After considering comments by counsel, the court found the

defendant=s decision to enter a guilty plea to be fair to both the

defendant and the United States for the reasons stated in court.             The

court then conditionally approved the guilty plea in the interest of

the administration of justice.

         The court next inquired as to the defendant=s plea and the

defendant responded that she intended to plead guilty.              The court

explained the range of penalties to which the defendant would be

exposed by virtue of her guilty plea.        The court also explained the

statute under which this action is prosecuted and the elements which

the United States would have had to prove, beyond a reasonable doubt,

had the matter been tried.    The Assistant United States Attorney then

stated the factual basis establishing that the defendant committed

the offense to which she was pleading guilty.         The defendant admitted

that the factual basis as stated was substantially true.

         The court further informed the defendant, pursuant to the

requirements of Rule 11 of the Federal Rules of Criminal Procedure,

of the constitutional and other rights she would waive by pleading

guilty to the count in the indictment.      The court then determined that

the defendant understood those rights.          The court advised the

defendant that she could not withdraw her plea if she was dissatisfied

with the sentence rendered.




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         The court inquired of the defendant personally as to whether

any threats or promises had been made to her to induce her to plead,

whether any predictions were made regarding the sentence she might

receive, and whether she had any second thoughts about entering a plea

of guilty, to which questions the defendant responded in the negative.

         Based upon the defendant=s plea of guilty, as well as her

factual admission of guilt, the court found that there existed a

factual and legal basis for the defendant=s plea of guilty.         Based upon

the United States= proffer of evidence against the defendant, the court

found that there also existed an independent factual basis for the

defendant=s plea of guilty.      The court further found that the

defendant tendered her plea of guilty voluntarily and with a full

understanding and awareness of the constitutional and other rights

which she gives up by pleading guilty, and with an awareness of what

the United States would have to prove against her if the case went

to trial.   The court further found that the defendant had an

appreciation of the consequences of her plea and accepted the

defendant=s plea of guilty.

         Pursuant to Sentencing Guideline ' 6B1.1(c), the court

deferred an adjudication of guilt pending receipt of the presentence

investigation report.      Accordingly, the court adjudges and the

defendant now stands provisionally guilty of Count Ten of the

Indictment.

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         The court scheduled the disposition of this matter for March

12, 2015, at 10:30 a.m., in Bluefield.         The Probation Department is

directed to conduct a presentence investigation in this matter and

to provide a report to this court.       Unless otherwise directed by this

court, the probation officer is not to disclose the officer=s

sentencing recommendation to anyone except the court.

         The court found by clear and convincing evidence that the

defendant was not a flight risk or a danger to the community and

continued the defendant on a $10,000 unsecured bond.                 Defendant=s

release on bond shall be subject to the same conditions imposed when

bond was originally set.

         The Clerk is directed to send a copy of this Memorandum Opinion

and Order to counsel of record, the United States Marshal for the

Southern District of West Virginia and the Probation Office of this

court.

         IT IS SO ORDERED this 12th day of November, 2014.

                                          ENTER:


                                         David A. Faber
                                         Senior United States District Judge




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